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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF PUERTO RICO

Thomas R. West
Civil No. : 3:10-cv-10-01256-JPG
Plaintiff
V. Jury Trial Demanded

Estebita Motors, et al

Defendants

 

 

Opinion and Order
This court ordered the entry of a default judgment against
codefendant Estebita Motors, Inc. and therefore finds that it is partly
responsible for the damages suffered by plaintiff Tomas R. West after the
vehicle it had sold to him crashed due to a dangerous defect or condition
that was present at the time of sale that left him with catastrophic and
permanent physical, emotional and patrimonial damages. This is a
diversity-based personal injury case and as such Puerto Rico law controls
our decision. |
Course of the case
This case was filed March 26, 2010. Service of process to
codefendant Estebita Motors, Inc., herein forward called Estebita, was on
May 8, 2010. (Docket 1} After an appearance moving for an extension of
time to answer filed on the 2"¢ of June, Estebita’s answer to the complaint

was filed on June 30, 2010. (Docket 9} That answer contained several

 

 
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counter claims and plaintiff filed his timely answers to them on July 9, 2010,
(Docket 11} Codefendant Servicio Dodge, Chrysler & Jeep filed its answer
to the complaint on August 17, 2010. (Docket 15)

The initial Scheduling Conference was held on November 12, 2010.
The parties continued with the discovery in the case and the scheduled
pre-frial and trial dates were continued several times in 2011 at the
request of Counsel due, among other reasons, to developing medical
conditions of plaintiff. (Dockets 32, 35, 38 and 40) As of December 2012
no trial date had been set. A deadline for discovery was set for March 21,
2012. (Docket 46}

On November 15, 2011, counsel for Estebita filed his first motion to
withdraw as counsel in the case. (Docket 39} The court denied the same
without prejudice in docket 40 and until new counsel appeared to
represent Estebita, who had until December 15, 2011 to do so. Counsel
was to renew fhe request to withdraw after that date. On November 15th,
2011, the court also ordered the termination of all deadlines and hearings.
(Docket 40}

On December 19th, 2011, counsel for Estebita again renewed his
request to withdraw as counsel. (Docket 41) The court granted the
withdrawal on January 19th, 2012. (Docket 42) At the same time, the court
found that Estebita had shown “blatant disregard” of its orders and that in

light of its interest in promoting efficiency and compliance, found that the

 
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sanction of entry of default against codefendant was appropriate. On
January 20, 2012, the clerk entered the default as to Estebita. {Docket 43)
Estebita has failed jo file any pleading in response to the entry of default.

On March 7, 2012 plaintiff filed a motion for entry of judgment.
against Estebita and for a hearing in the case. (Docket 45) In the
meanwhile, no counsel appeared on behalf of Estebita. Although the
Court could not have made it clearer that new counsel had to appear by
the deadline set, no appearance was filed, and the motion for entry of
judgment stands unopposed.

On April 3, 2012, ihe Court granted the motion for judgment against
Estebila and ordered plaintiff to submit a propose default judgment by
April 13, 2012. (Docket 47} Having done so, the court now enters its
judgments against Estebita Motors, Inc., both for the complaint and for its
several counterclaims against plaintiff and finds this codefendant to be
responsible for the damages sustained by plaintiff Tomas R. West as a
result of the accident suffered in the car it sold to him that resulted in the
total loss of the car and in serious and permanent physical, emotional and
moral and patrimonial damages for which compensation is soughi.

Default Judgment

“{l]t is clearly established that a district court is afforded great

discretion in entering default. See 10A Charles A. Wright, Arthur R. Miller &

Mary Kay Kane, Federal Practice and Procedure Civil 2d § 2685 (1998}

 
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(the decision to enter defaultis a decision commitied to the "sound
judicial discretion” of the judge).” Sudrez Cestero v. Pagan Rosa, 167 F.
supp. 2d 173, 181 (D PR 2001). Disobedience of a court order may
constitute extreme misconduct. Tower Ventures, Inc. v. City of Westfield,
296 F.3d 43, 46 (1sf Cir. 2002)

“Federal Rules of Civil Procedure 55(b) (2} grants the district judge
discretion to decide whether to enter ajudgment by default, and
empowers him to hold hearings or order such procedures as he deems
necessary and proper. U.S. v. Cabrera-Diaz, 106 F.Supp.2d 234, 243 (D.P.R.
2000) (citing 10A Charles A. Wright, Arthur R. Miller & Mary Kay Kane,
Federal Practice and Procedure: Civil 3d § 2684} (footnotes omitted}.”
LATIN AMERICAN MUSIC CO. INC. v. ARCHDIOCESE OF SAN JUAN OF
ROMAN CATHOLIC AND APOSTOLIC CHURCH, CIVIL NOS. 96-2312 (PG}, 97-
2356 {PG), 97-2875 (PG), 98-1597 (PG), 00-1618 (PG). (D PR 2005} “It is
black-letter law that a defendant's default constitutes an admission of all
well-pleaded facts in the complaint. Banco Bilbao Vizcaya Argentaria v.
Family Restaurants, Inc., 285 F.3d 111, 114 {1st Cir. 2002}: Franco v.
selective Ins. Co., 184 F.3d 4,9 n.3 (1st Cir. 1999) ["[a] party who defaults Is
taken to have conceded the truth of the factual allegations in the
compiaint’); Brockton Savings Bank v. Peat, Marwick, Mitchell & Co., 77]
F.2d 5 (ist Cir. 1985}("there is no question that, default having been

entered, each of [plaintiff's] allegations of fact must be taken as true...."),

 

 
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cert. denied, 475 U.S. 1018 {1986)... The usual rule fis} that judgments
entered by default may not give other or more extensive relief than that
asked for in the pleadings." See Davison v. Fernandez, 264 F.2d 131, 132
(Ist Cir, 1959); Fed.R.Civ.P. 54(c) ["a judgment by default shall not be
different in kind from or exceed in amount that prayed for in the demand
for judgment") {citing 10A Wright, Miller & Kane, Federal Practice and

Procedure: Civil 3d § 1258}.” Id.

“When considering a motion for default judgment, “a court
may examine a plaintiff's complaint to determine whether it alleges a
cause of action... [and] must assume that all well pleaded factual
allegations are true." Quirindongo Pacheco v. Rolon Morales, 953 F.2d 15,
16 (ist Cir. 1992). The Court thus culls the relevant facts from plaintiff's
complaint.” DON KING PRODUCTIONS, INC. v. LA UNION DE TODOS, ET AL.,

Civ. No, 04-2087 (PG). (D PR 2006}

Findings of Fact
Taking as true all well plead allegations in the compiaint, we can
esiablish the following facts:
1. Plaintiif Tomas R. West is of legal age, single and a resident of the
state of New York.
2. Estebita Motors, Inc. is a corporation organized under Puerto Rico

laws.

 

 
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. Plaintiff was a resident of Caguas, Puerto Rico, in March 2009.

. On Sunday, March 21, 2009 plaintiff purchased a used 1994 Nissan
Sentra XE from Estebita’s dealership, located on Road 3, km. 16.1, in
Canovanas, Puerto Rico.

. On that day, no employee or sales person informed plaintiff of any
mechanical problems with the steering wheel, tie rod or air bag in
the car. He was only informed him of a defective ignition.

. By so acknowledging the dealership admitted that it had the duty
and responsibility to know, and that it should have known and must
disclose to plaintiff, problems or dangerous conditions in the used
car before its sale.

. Since it actually undertook the duty to disclose defective and
dangerous conditions of the car, it further breached it by failing to
disclose to plaintiff the defective air bag and driving or steering
mechanisms that caused his accident and his injuries.

. About a week after the purchase, while driving the vehicle and
steering, plaintiff heard a grinding sound, and upon stopping and
inspecting the car, he saw that the wheels were not turned to the
same side. Nevertheless, upon resuming his driving, the wheels
returned to normal. He then continued driving it, and felt a

trepidation, or shimmy, for a while.

 
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9. On Monday, April 6, 2009, 17 days after his purchase and while

driving the car, the steering wheel began moving back and forth.

 

Me drove the car slowly to the shop, located in the Cupey ward of
He felt a loss of control of the car, after the incident with the wheels
of the week before. |

10. Plaintiff drove the car slowly to Servicio Dodge, Chrysler & Jeep,
a/k/a Mecanica Jeep, after which he slowly drove the car home, a ;
drive of about 20-25 minutes.

ll.Later that same day plaintiff left his home in Caguas and
proceeded jo drive his 1994 Nissan Sentra XE down Route 1 in the
direction of San Juan. While driving towards a bend to the left,
steering to straighten the car, the wheels locked to the left and the
car started going toward a three feet high concrete median. He
tried to steer the car to the right but the car continued to the left,
then jerked to the right. Plaintiff tried to steer left and applied the

brakes, and the car quickly went left while he lost all control over

 

the car. The vehicle swerved back and forth several times, did a 180
degree turn and hit a car parked on the side of the road which in
turn hit other cars.

12.The air bag in the driver’s side did not deploy upon impact.

13.Not understanding Spanish, plaintiff called Servicio Dodge, Chrysler

& Jeep manager for help in interoreting what emergency medical

 
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14.Piaintiff was hospitalized for three weeks and underwent hip
reconstruction surgery. His left knee and right hand also suffered
permanent damages.

15.The serious injuries to his left hip were aggravated upon impact by
the fact that the car did not deploy its air bag, having his body
receive ine full force of the crash.

16.His recovery from the initial surgery included a three week
hospitalization, and later the constant use of a wheelchair, or a
cane or walker. He has permanent loss of sensation on his right
nand due to his injuries and has many other medical complications,
in addition to severe pain and suifering due to the consequences of
the accident.

17.Plaintiff relocated back to his home state of New York. He
continued to experience pain in his jeff hip and his hand, and he
has lost the ability to perform physical activities requiring lifting or

moving heavy objects, run or even walk short distances.

18.As a result of his injuries plainiiff lost any chance he had to pursue a
career as fire fighter and was, in fact, rejected in his application to
become a court officer due to those injuries.

Discussion of Applicable Puerto Rico Law

 
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As this is a diversity case, we apply Puerto Rico law to all substantive
matters and “we are bound by the teachings of the staie’s highest court,
Vazquez-Filippetti v. Banco Popular de PR, 504 F. 3d 48, 49 (CA1 2007} See
also Rodriguez v. Sefior Frog’s de Ia Isla, Inc., 642 F. 3d 28, 36 (CAI 2011). ~

“Article 1802 of Puerto Rico’s Civil Code imposes liability upon a
person for an “act or omission” that “causes damages fo another through
fault or negligence.” P.R. LAWS ANN. TH. 31, § 5141. Thus, in order to prevail
in a general tort claim under Puerto Rico law, a party must establish the
following elements: “{1} evidence of physical or emotional injury, (2) a
negligent or intentional act or omission {the breach of duty element}, and
(3) a sufficient causal nexus between the injury and defendant's act or
omission {in other words, proximate cause).” {internal quotations omitted)
Jimenez v. DESARROLLADORA DEL NORTE S EN C, SE, civil no. 08-1928-PG,
{(D PR 2010} “Article 1057 of the [Puerto Rico] Civil Code defines the terms
“fault or negligence” as “the omission of the steps which may be required
by the character of the obligation and which may pertain to the
circumstances of the persons, time, and place.” P.R. LAWS ANN. Tif. 31, §
3021. “In the case of an omission, the defendant must have been under a
duty to act...” Id. See also Cruz-Vargas v. RJ Reynolds Tobacco Co., 348 F,

3d 271, 276 (CAT 2003)

hi vay

“Tort lability under Puerto Rico law requires both “fault,

Marshall(quoting Jimenez v. Pelegrina, 112 P.R.R. 881, 885, 112 D.P.R. 700

 

 
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| (1982}), and the requisite causal connection between the wrongdoing
and the damages sustained, which is just another way of saying
proximate cause, see Vaézquez-Filippetti v. Banco Popular de Puerto
Rico, 504 F.3d 43, 49 (15 Cir.2007). “The proximate-cause cancept limits a
party's liability for hazards flowing from its negligence to those hazards
that could be anticipated by a prudent person. Marshall, 828 F.2d at
847 (quoting Pacheco v. Puerto Rico Water Res. Auth., 12 P.R. Offic. Trans.
367, 372, 112 D.P.R. 296 (1982) {quoting Hernandez v. The Capital, 81 P.R.R.
998, 1005, 81 D.P.R. 1031 (1960}}}." Id. “Foreseeability holds the key: a
person is liable if the consequences of her wrongdoing were immediate
and foreseeable, not if they were more remote and unlikely. See, e.g.,
Irvine {applying Puerio Rico law): Malave-Felix v. Volvo Car Corp., 944
F.2d 967, 971-72 {1s Cir.1991} (applying Puerto Rico law).” Sefier Frog’s,
supra, at p. 36.

“Breach of duty has, as ifs name implies, two sub-elements: duty
and breach. in most cases, the duty is defined by the general rule that
one must act as would a prudent and reasonable person under the
circumstances. See Ortiz v. Levitt & Sons of P.R., Inc., 1 P.R. Offic. Trans. 407,
101 D.P.R. 290 (1973}. Foreseeability is a component of the “breach” sub-
element because a defendant only breaches his duty if he acted {or
failed to act) in a way that a reasonably prudent person would foresee as

creating undue risk.” Vazquez-Filippetti, supra, at 49.

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Plaintiffs bear the burden of establishing the applicable standard of
care, and proving that Defendants acted below that minimum standard,
and that Defendants’ negligence was the proximate cause of
Plaintiffs’ damages. Carballo-Rodriguez v. Clark Equipment Co., Inc., 147
F. Supp. 2d 66, 72 {D PR 2001) “ As is true in most jurisdictions, foreseeabliity
is a central issue in tnese cases, as it is an element of both breach of duty
and proximate cause...The duty of care imposed upon a tortfeasor is
anticipating reasonably probable injuries to probable victims.” {internal
citations omitted) DESARROLLADORA DEL NORTE S EN C, SE, supra.

Analysis

Taking as true all the well pleaded facts from the complaint, we
must examine them to determine whether they allege a cause of action.
Since this is @ case sounding in tort, plaintiff must have established the
following elements: (1) evidence of physical or emotional injury, {2} a
negligent or intentional act or omission (the breach of duty element}, and
(3} a sufficient causal nexus between the injury and defendant's act or
omission. Sefior Frog’s and Vdazquez-Filippetti, supra.

it is clear that plaintiff has set out sufficient facts to show the (1}
existence of both physical and emotional injuries. He suffered injuries upon
impact at the time of the accident described in the complaint, and has
-undergone extensive, painful and continuous medical treatment to

_ correct those injuries. He has suffered permanent, life altering damages in

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his hand and hip. He has lost employment opportunities due to those
injuries, and has suffered pain and changes in his life style, a change in
. the activities he can enjoy and in his employment possiblities. see
Complaint, docket 1, paragraphs 21 through 24.

It is also clear that plaintiff has set out sufficient facts to show (2) a
negligent or intentional act or omission (the breach of duty element).
Estebita knew it had a duty to disclose mechanical problems in the
vehicle before it sold it to plaintiff when if actually notified him that the
1994 Nissan Sentra XE had a defective ignition. See Complaint, Docket 1,
Paragraph 9. Estebita then knew or must nave known that it had the duty
to disclose other dangerous or defective mechanical conditions in the
used car before its sale. See Complaint, Docket 1, Paragraphs 10 and 11.
Furthermore, it was foreseeable by a reasonable and prudent operator
and employees of a used car dealership thai if they did not disclose all
the defective mechanical conditions of the used 1994 Nissan Sentra XE
before its sale it would be creating undue risk for plaintiff Upon its
purchase. Since it did not disclose the conditions that were present ai the
time of the sale of the car that caused the accident 17 days later, it
breached its duty of care towards plaintiff. Finally, the consequences of
Estebita’s wrongdoing were immediate and foreseeable and present at
the time of the sale of the used car. According to the facts we fake as

true, the accident occurred only 17 days after the purchase of the car so

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we must conclude that its mechanical conditions must have existed at
the time of the sale to plaintiff, that Estebita failed to disclose them to him
and that because of these dangerous conditions he lost control of the car
and crashed. Those conditions were therefore the foreseeable and
immediate cause of the accident. They were not remote and unlikely due
to the temporal proximity between the sale of the car as it was and the
crash.

As for (3} a sufficient causal nexus between ithe injury and
defendant's act or omission, the description of how the accident
occurred shows sufficient facts te establish that fhe car, only 17 days after
its purchase from Estebita and its delivery to plaintiff, had a defective air
bag and a defective steering mechanism, the later of which caused him
to loose control of the vehicle and the former to suffer more serious and
traumatic injuries than if the air bag had deployed. See Complaint,
Docket 1, Paragraphs 17, 18 and 19. Had Estebita warned him of the
dangerous steering problems and of a deiective air bag, he would have
had the opportunity to get them fixed before operating the vehicle.

The facts we take as true show that plaintiff took the car for service
to Servicio Dodge, Chrysler & Jeep, allegation that shows reasonabie
behavior when faced with an unknown mechanical condition in his car.
See Complaint, docket 1, paragraphs 13 through 16. The allegations also

establish that he slowly drove back home afterwards before driving it and

 

 
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suffering the tragic accident soon thereafter. Therefore, Plaintiff's
infervening actions did not break the sufficiency of the causal nexus
between Esiebita's breach of the duty to know and to disclose all
mechanical defects or conditions and fhe crash. There are no factual
allegations that plaintiff fixed. altered, or modified the serious mechanical
defects or problems with the air bag or steering mechanisms that the
complaint alleges existed at the time of the sale of the car. Thus the
allegations are sufficient to establish that Estebita’s actions and omissions
contributed to the total loss of control of the car that caused the
accident. See Complaint, docket 1, paragraph 14.

The well pleaded facts we take as true suggest that Estebiia
breached its of duly of care to plaintiff as cusfomer and started the
causal chain that led to catastrophic damages to plaintiff. Whether
Servicio Dodge, Chrysler & Jeep is joinily responsible for those damages
due to their own breach of duty, if any, in the negligent care of the car’s
dangerous mechanical or defective conditions at the time it was sold by

Estebdita Motors is to be established separately.
Plaintiff has met his burden in the case against Estebita Motors

The foregoing analysis shows plaintiff Tomas R. West nas established
sufficient facts in the Complaint to define the applicable standard of care

and the duty to disclose dangerous or defective conditions in the 1994

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Nissan Sentra XE he purchased. Estebita Motors, Inc. acted below that
minimum standard so that its negligence was a proximate cause of
Plaintiff's accident. Estebita therefore created the conditions for plainiift’s
catastrophic accident, his ensuing damages and his life altering,
permanent injuries and for that it must now compensate him. He has
therefore met his burden of establishing that Estebita is at a minimum
partially responsible for the damages alleged in the cornplaint. Because
he has met the standard for responsibility in negligence cases, and has
complied with the standards for the issuance of a default judgment, the
court ENTERS the default judgment against Estebita Motors, Inc.

Estebita Motors Inc. counterclaims

Estebita Motors, Inc. filed seven so called “counterclaims” together
with its answer to the complaint. (Docket 9, page 5} Since the court
entered the default against Estebita, it must also dismiss with prejudice
those seven {7} counterclaims against plaintiff, because the well pleaded
allegations in the complaint considered as true by the court must also be
considered sufficient fo support plaintiff's denials of responsibility for the
counterclaims found in docket 11. In this scenario, dismissal of the
counterclaims ts the proper remedy against Estebita. Federal Rules of Civil
Procedure 13{i}) and 54(b) allow the court to adjudicate these
counterclaims against plaintiff because, being that there is no just reason

for any delay to end this action as to Estebita, its counterciaims must be

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subjecied to the same remedy for its “blatant disregard” of this court's
orders and so we must apply the same reason for the entry of default to
these claims. “By default of the Counter-Claimants, alll counterclaims
against [plaintiff] have been dismissed”. See for example FORTIS BANK
v. MMV SHAMROCK, No. 04-CV-147-GZS, footnote [1] [D ME 2005). The
proper remeay is then dismissal with prejudice of all of Estebita's
counterclaims against plaintiff found in Docket 9. Therefore, Court directs
and ORDERS the entry of final judgment on the dismissals, on a separate

document pursuant to Rule 58.
Damages requested

In both the Complaint and his Answer to Counterciaims, dockets 1
and 11, plaintiff requested judgment against both codefendants, jointly

and severally, the following amounts:

e Af least $1,000,000.00 for his physical and emotional! pain, suffering
and disability caused by the accident due to codefendant’s fault
or negligence;

« At least $1,000,000.00 for lost past and future income due to their
fault or negligence;

« At least $50,000.00 for medical expenses and liabilities incurred in as

a result of the accident:

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e Af least $200,000.00 in future medical expenses, AND
« All reasonable attorney fees and costs incurred in the litigation of

the case.

Given that plaintiff requested a fury trial, and that the issue of
codefendant Servicio Dodge, Chrysler & Jeep's responsibility is still
pending, a jury trial will be set to determine {1} the responsibility, if any, of
codefendant Servicio Dodge, Chrysler & Jeep for its intervening acts or
omissions before the accideni, {2) the percentage responsibility, if any, of

each party for the damages, and {3} how much each codefendant must

pay plaintiff as damages in the case.
9 g/l 3013.

IT 1S SO ORDERED. / Me Vi, Aine of
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